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                       BROOK & ASSOCIATES, PLLC
                                      NEW YORK | N E W J E R S E Y

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                                                        January 17, 2023

By ECF and Email

The Honorable Lewis A. Kaplan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007

Re:    Daniel Kleeberg et al. v. Lester Eber et al., 1:16-cv-09517-LAK-KHP
       Update Regarding Depleted Assets and Request for a Conference

Dear Judge Kaplan,

I write on behalf of Plaintiffs in the above-named matter to inform the Court of developments
over the last few weeks and to request a conference. At the conference, Plaintiffs respectfully
request that the Court order Defendants to disclose promptly future material adverse events at
Eber-CT pending a decision, as we recently learned that Defendants failed to provide such
information to Plaintiffs even though their counsel had promised to do so a year ago.

Plaintiff Daniel Kleeberg, who works in the wine and liquor industry, recently learned that Eber-
CT was “dualed” by one of its largest wine suppliers in late 2022. According to Connecticut state
records, that supplier will be able to sell Eber-CT’s currently exclusive brands through a second
distributor in Connecticut beginning in May 2023 (unless the supplier withdraws its filed
“dualing” notice). To our knowledge, this is the third brand that has “dualed” Eber-CT since
December 2021. Defendants informed us of the first two a year ago, but not the third—and
largest—despite having previously represented that they would share such information going
forward.

It is also our understanding that there may be other negative events occurring at Eber-CT. I
hesitate to post what may be mere rumors on the public record that could negative impact the
value of Eber-CT. However, we will be prepared to discuss those during a conference.

To their credit, Defendants did provide Plaintiffs with an audited financial statement for the last
fiscal year when it became available in the Fall of 2022. But that statement does not contain
information that my clients and the Court ought to know about the challenges facing Eber-CT



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now and in the near future. Therefore, Plaintiffs respectfully request that the Court order
Defendants to provide immediate disclosures to Plaintiffs and to the Court1 about (a) any notices
of current suppliers terminating Eber-CT or adding another distributor for one or more of Eber-
CT’s brands; (b) any sales, marketing, customer relations, or administrative employees giving
notice of termination of their employment, including the name and contact information for such
individuals so that my clients may attempt to intercede on Eber-CT’s behalf; and (c) any other
information about Eber-CT that would constitute an actual or potential material adverse event.

Additionally, this Court should know that, on or about December 30, 2022, Wendy depleted her
father’s estate’s assets to pay over $200,000 more in legal fees associated with this litigation. She
did so without consent from a Surrogate because, over the summer, the sole Surrogate in Monroe
County recused himself and no replacement has been appointed by the Administrative Judge. As
a result, it appears that Wendy’s counsel has taken the position that the Surrogate’s order
restraining Estate assets terminated on December 29, 2022, despite the fact that there is still no
replacement Surrogate who has been appointed who could possibly consider an extension of the
earlier restraining order.

The payment constitutes not only a far more significant depletion of assets than the $25,000 “tax
distribution” that this Court disallowed in September, but also evidence that Wendy continue to
find and abuse every opportunity available, and then some. That is apparent from the
affirmations in support of an earlier-filed petition for permission to pay the fees submitted by
defense counsel. As the attached affirmation of Frank Santoro shows, there is no attempt to
explain how, if at all, the fees are to be allocated between the Estate and Wendy. In fact, the
affirmation misleadingly indicated that Farrell Fritz represented Wendy merely in her capacity as
Executor of Lester Eber’s Estate. See generally Ex. A (always referring to Wendy as “Executor
of the Estate”).2 Ultimately, on December 30, 2022, Wendy withdrew the petition and advised
the parties that she was merely making the payment without Surrogate consent. See Ex. B.

The depletion of assets is concerning because, according to Mr. Santoro, the Estate already lacks
sufficient assets to satisfy a judgment in this case. See Ex. A ¶ 12 (“Plaintiffs in the federal
litigation seek equitable relief and damages that will render the Estate insolvent if granted”).



1
  We believe such disclosures to the Court should be under seal given the sensitive nature of the information.
2
  The first paragraph alone would have misled any appointed replacement Surrogate into believing that Wendy’s
sole role was as an administrator of the Estate, rather than as a defendant in her individual capacity and probably the
most culpable one of the three individuals originally named as defendants. See id. ¶ 1 (“I am a Partner with the law
firm of Farrell Fritz P.C., attorneys representing Wendy Eber, as Executor of the above estate (the ‘Estate’) with
respect to the Estate’s interest as a defendant in Kleeberg v. Eber under File Number 16-CV-9517 in the United
States District Court for the Southern District of New York (the ‘federal litigation’). I am familiar with the facts and
proceedings in connection with the firm’s representation of Wendy Eber as Executor of the Estate in the federal
litigation.”). Nowhere else in the affirmation or accompanying documents was this representation corrected.
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Given the absence of any Surrogate to oversee the Estate and Wendy’s position that she is now
unrestrained in her use of Estate assets, Plaintiffs are deeply concerned about what further
actions may be taken that could severely, if not irreparably, impair Plaintiffs ability to collect a
judgment in their favor, should the Court so rule. That is why it is all the more crucial to ensure
that the value of Eber-CT is retained and supported, and the first step towards being able to do
that is to be able to know when bad things are happening at the company.

We thank the Court for its attention to this matter. And if there is anything at all that the parties
can do to assist the Court in finalizing its opinion, we respectfully request that the Court let us
know and we will give it our full attention.

                                                       Respectfully submitted,


                                                                              .
                                                       Brian C. Brook
cc:    All counsel of record
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                Exhibit A
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STATE OF NEW YORK
SURROGATE’S COURT: COUNTY OF MONROE

  In the Matter of the Estate of                                      AFFIRMATION RE: FEES FOR
                                                                           LEGAL SERVICES
  LESTER EBER,                                                              (RULE § 207.45)

                                                  Deceased.              FILE NUMBER 2020-1048

        Frank T. Santoro an attorney admitted to practice in the courts of this State, affirms as follows:

1.        I am a Partner with the law firm of Farrell Fritz P.C., attorneys representing Wendy Eber, as
Executor of the above estate (the “Estate”) with respect to the Estate’s interest as a defendant in
Kleeberg v. Eber under File Number 16-CV-9517 in the United States District Court for the Southern
District of New York (the “federal litigation”). I am familiar with the facts and proceedings in connection
with the firm’s representation of Wendy Eber as Executor of the Estate in the federal litigation.

2.        Wendy Eber, as Executor of the Estate, engaged Farrell Fritz P.C. in connection with the federal
litigation by engagement letter, dated June 25, 2021, and that representation has continued to date. The
parties to the federal litigation are currently awaiting a verdict following a multi-day non-jury trial and
extensive post-trial submissions. The federal litigation is highly complex, and marries the disciplines of
estate litigation and business divorce litigation. It involved a multi-day non-jury trial, extensive post-trial
briefing, protracted and extensive settlement discussions, and recent post-trial advocacy in connection
with a continuing preliminary injunction. We expect post-trial motion practice and appeals.

3.      The amount requested in the Petition for Payment of Legal Fees (filed herewith) for payment
against Farrell Fritz, P.C.’s outstanding fees for legal services and disbursements for the period
September 1, 2021, through October 31, 2022 is $171,410.

4.      The amount above does not include any legal services and disbursements after October 31, 2022
through the final adjudication and/or settlement of the federal litigation.

5.      The terms of the engagement letter provide that fees will be charged based on the actual time
expended by attorneys and paralegals working on the matter based on the standard hourly rates. In
2021, the hourly rates of the attorneys and paralegals who worked on this matter were:

  Kevin P. Mulry, Esq. – Partner                         $625

 Frank T. Santoro, Esq. – Partner                        $585

 Stephen F. Melore, Esq. – Partner                       $725

 Ilene S. Cooper, Esq. – Partner                         $650

 Jaclene D’Agostino, Esq. – Counsel                      $525

 James R. Maguire, Esq. – Associate                      $295

 Yi W. Stewart, Esq. – Associate                         $375

 Jaclyn M. Ruggirello, Esq. – Associate                  $295

 Michelle Espey, Esq. – Partner                          $525
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                                                    -2-


 Samantha Skoriak -Paralegal                           $325

 Lynn Marie Andrade – Paralegal                        $245

 John Beauregard – Paralegal                           $260



6.      In 2022, the hourly rates of the attorneys and paralegals working on this matter are:

 Kevin P. Mulry, Esq. – Partner                        $660

 Frank T. Santoro, Esq. – Partner                      $625

 Patrick T. Collins, Esq. – Partner                    $675

 Stephen F. Melore, Esq., - Partner                    $725

 Rebecca Schmutter, Esq. – Counsel                     $550

 Michelle Espey, Esq. – Partner                        $595

 Samantha Skoriak -Paralegal                           $350

 Marilyn Puras – Paralegal                             $290

 Lynne Marie Andrade – Paralegal                       $275

 John Beauregard – Paralegal                           $275

 Theresa Spano – Paralegal                             $280



7.      Farrell Fritz, P.C. has billed for legal fees and disbursements during the applicable period in the
amount of $606,767.46, and of that amount has outstanding legal fees and disbursements in the amount
of $363,471.87, as follows:

 Billing Period                                           Bill                     Outstanding Amount

 September 1, 2021 through September 30, 2021             $276,935.47              $34,591.13

 October 1, 2021 through October 31, 2021                 $178,387.85              $178,387.85

 November 1, 2021 through November 30, 2021               $66,092.95               $65,141.70

 December 1, 2021 through December 31, 2021               $26,769.75               $26,769.75

 January 1, 2022 through January 31, 2022                 $13,433.50               $13,433.50

 February 1, 2022 through February 28 2022                $7,983.00                $7,983.00
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                                                       -3-


 Billing Period                                              Bill                        Outstanding Amount

 March 1, 2022 through March 31, 2022                        $832.00                     $832.00

 April 1, 2022 through April 30, 2022                        $3,802.80                   $3,802.80

 May 1, 2022 through May 31, 2022                            $3,347.25                   $3,347.25

 June 1, 2022 through June 30, 2022                          $1,736.00                   $1,736.00

 July 1, 2022 through July 31, 2022                          $961.48                     $961.48

 August 1, 2022 through August 31, 2022                      $10,557.50                  $10,557.50

 September 1, 2022 through September 30, 2022                $15,380.25                  $15,380.25

 October 1, 2022 through October 31, 2022                    $547.66                     $547.66

 Total                                                       $606,767.46                 $363,471.87

                                                             (Composed of
                                                             $602,924.45 in legal
                                                             fees and $3,843.01 in
                                                             disbursements).


                                                                                   .
8.       The Petition for Payment of Legal Fees (filed herewith) seeks payment against the outstanding
legal fees of Farrell Fritz, P.C. for the period September 1, 2022 through October 31, 2022 is $171,410 for
the reasons set forth more specifically therein.

9.      A brief description of the legal services rendered and the total time expended by counsel and
counsel’s staff for the period September 1, 2021, through October 31, 2022, is as follows:

         Farrell Fritz, P.C. has rendered legal services as trial counsel in connection with the federal
         litigation in an effort to preserve and protect the assets of the Estate. Farrell Fritz, P.C., inter alia,
         prepared for and conducted the trial in the federal litigation. It conducted a complete review of
         the federal docket and prior court filings, review of pleadings and amended pleadings, review of
         affidavits, motion papers, deposition transcripts, key documents, and prior decisions and orders
         of the federal court. Farrell Fritz, P.C. further interviewed potential witnesses for trial, conducted
         analysis and research of applicable law, and developed and prepared Defendants’ trial strategy.
         Farrell Fritz, P.C. prepared witnesses, prepared and selected exhibits for trial, prepared
         demonstrative aids, and other materials for trial. Farrell Fritz, P.C. developed direct testimony by
         way of extensive witness affidavits, and prepared for cross-examination and expert testimony.
         Farrell Fritz, P.C. advocated in pre-trial motion practice pertaining to evidentiary issues, and
         prepared objections to Plaintiffs’ evidentiary offerings. Farrell Fritz, P.C. attended and advocated
         at trial from opening statements to closing statements.

         Post-trial, Farrell Fritz, P.C. attended to extensive post-trial memoranda and findings of fact and
         conclusions of law and other necessary post trial submissions. It further advocated regarding
         Plaintiffs’ demand for a temporary restraining order and preliminary injunction. Farrell Fritz, P.C.
         has also attended to and advocated for critical modifications of Plaintiffs’ preliminary injunction to
         address important tax matters Further, Farrell Fritz, P.C. has made extensive efforts to facilitate
         and foster settlement discussions at the direction of the Executor.
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                                                      -4-


        The total time expended by counsel and counsel’s staff in connection with federal litigation to
        protect the Estate during the applicable time period:1194.17 hours, as follows:

                        Name/Role:                                  Hours:

 Kevin P. Mulry, Esq. - Trial Attorney                    475.67

 Frank T. Santoro, Esq. – Trial Attorney                  409

 Michelle E. Espey, Esq. – Tax Attorney                   6

 Rebecca Schmutter, Esq. – Tax Attorney                   8.5

 Stephen F. Melore, Esq. – Attorney                       .5

 Ilene S. Cooper, Esq. – Attorney                         6

 Patrick T. Collins, Esq. – Attorney                      2.4

 Jaclene L. D’Agostino, Esq. – Attorney                   72.2

 James R. Maguire, Esq. – Attorney                        22.6

 Jaclyn M. Ruggirello, Esq. – Attorney                    7.2

 Michelle Espey, Esq. – Attorney                          4.5

 Samantha Skoriak – Paralegal                             139.1

 Lynn Marie Andrade – Paralegal                           23.4

 John Beauregard – Paralegal                              3.9

 Marilyn Puras – Paralegal                                2

 Billy Swindler – Paralegal                               11

 Theresa Spano – Paralegal                                .2



10.      The undersigned notes that during the applicable time period, Farrell Fritz P.C. billed for fewer
hours than its attorneys and staff devoted to this matter, and in many instances, attorney and staff time
was billed at half rate or for no charge. Moreover, Farrell Fritz, P.C. extended a courtesy discount to its
invoice for the period September 1, 2021 through September 30, 2022 in the sum of $26,342.20. Thus,
while Farrell Fritz, P.C.’s attorney and staff devoted time to this matter that would have resulted in total
charges for legal services rendered in the amount of $650,993.80 during the period September 1, 2021
through October 31, 2022, the firm billed the sum of $602,924.45. Thus, Farrell Fritz P.C.’s actual
blended hourly rate for this time period was approximately $505. A copy of the biographies of the
principal attorneys involved in this matter, the undersigned and Kevin P. Mulry, Esq., are annexed hereto
as Exhibit “A.”

11.     Farrell Fritz P.C. did not bill the Executor for the preparation of the Petition or this Affirmation
regarding fees.
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12.     The Executor was consulted as to the fees and disbursements requested and consents to the
same. Because Plaintiffs in the federal litigation seek equitable relief and damages that will render the
Estate insolvent if granted, a continuing and vigorous defense is absolutely necessary to protect the
Estate.

13.     The method or basis by which requested compensation was determined based on hourly rates as
outlined in the engagement letter.

14.      The Legal fees rendered to the Executor and the Estate are reasonable based on various factors,
including: the time and labor required; the amount in the litigation; the difficulty and novelty of the issues;
the ability, experience and reputation of the attorney; and the customary fee charged for similar services.
None of these factors is dispositive. See In re Estate of Freeman, 40 A.D.2d 397 (4th Dep't 1973); In re
Estate of Potts, 213 A.O. 59 (4th Dep't 1925).

15.      The legal fees charged and to be charged are within the range of customary fees for an estate
involved in complex litigation occurring in the Southern District of New York. The total legal fees incurred
by the Estate will not exceed a reasonable percentage of the assets of the Estate given the stakes of the
federal litigation.

16.      Farrell Fritz P.C. has spent and will continue to spend a considerable amount of time in
connection with the federal litigation. It has been found that where the time claimed by an attorney
representing the estate was actually spent and the services are necessary for estate administration, fees
for legal services are reasonable even when the size of an estate is small . See, e.g., In re Estate of
Clark, 13 Misc. 3d 1221 (A) (Sur. Ct. Monroe Cty. 2006). There have been complex issues involved with
this Estate that are atypical for a common estate administration. This includes issues related to the
valuation of several business entities, the distribution of the decedent's assets and litigation. Therefore,
the amount of time for legal services expended by the attorneys and paralegals of this firm as requested
are reasonable under the circumstances.

17.   Counsel does not request, but reserves all rights to, a formal hearing with respect to the
compensation sought herein.


Dated: December 12, 2022




Name of Attorney: Stephanie T. Seiffert, Esq.        Tel No.: -'(=
                                                                 58=-5=)'--'2=6'---"3'-----'--10"---'5=8=--- - - - - - --
Address of Attorney: Nixon Peabody LLP, 1300 Clinton Square, Rochester, NY 14604
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                Exhibit B
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STATE OF NEW YORK
SURROGATE’S COURT: COUNTY OF MONROE
In the Matter of the Petition for Advance Payment of
Legal Fees (SCPA § 2110) for the Estate of                                       ATTORNEY                     Carolyn G. Nussbaum
                                                                                AFFIRMATION                   Partner
 LESTER EBER,                                                                                                 T 585-263-1558
                                                                          FILE NUMBER 2020-1048               cnussbaum@nixonpeab
                                                   Deceased.
                                                                                                               1300 Clinton Square
                                                                                                               Rochester, NY 14604-1
           Stephanie T. Seiffert, Esq., an attorney admitted to practice in the courts of this State, affirms as
                                                                                                               585-263-1000
follows:

1.      I am a Partner with the firm of Nixon Peabody LLP, attorneys representing the fiduciary of the
above estate (the “Estate”). I am familiar with the facts and proceedings in connection with the
administration of the Estate.

2.                      March of
        A Petition for Payment      2020Fees dated December 9, 2022 (the “Petition”), was filed with this
                                18,Legal
Court on behalf of Wendy Eber, as Petitioner and Executor of the Estate, requesting that an Order be
issued for the payment of certain legal fees as outlined in the Petition and Affirmations Re: Legal Fees
which accompanied the Petition.

3.       While PetitionerDear    :
                          still intends to pay the legal fees as requested in the Petition; Court permission to
do so is no longer required, and as such, Petitioner seeks to withdraw the Petition for Payment of Legal
Fees dated December 9,   BeginTypingHere
                           2022.

                           Very truly yours,
Dated: December 30, 2022                                      ___________________________________
                                                                    Stephanie T. Seiffert, Esq.
                           Carolyn G. Nussbaum
                           Partner

                           CGN/dj




Name of Attorney: Stephanie T. Seiffert, Esq.        Tel No.: (585) 263-1058
Address of Attorney: Nixon Peabody LLP, 1300 Clinton Square, Rochester, NY 14604
